 

Case 1:19-cv-00189-KG-KRS Document 2 Filed 03/06/19 Page 1 of 1

FILED

UNITED STATES DISTRICT COURT

UNITED STATES COURT OF APPEAKPROQUERQUE, NEW MEXICO
FOR THE TENTH CIRCUIT

OFFICE OF THE CLERK MAR-6 2019
Byron White United States Courthouse
1823 Stout Street MITCHELL R. ELFERS
Denver, Colorado 80257 CLE
(303) 844-3157 . RK
Elisabeth A, Shumaker Chris Wolpert
Clerk of Court February 28, 2019 Chief Deputy Clerk

Av \OR KG/KEs
Steven Duane Curry

NMBH1 — Forensic Unit
3695 Hot Springs Blvd
Las Vegas, NM 87701

Re: 5 2241 Petition

Dear Mr. Curry:

Today this court received your petition seeking relief pursuant to 28 U.S.C. § 2241.
These types of petitions must be filed in the applicable federal district court for
resolution. If necessary, an appeal from the federal district court’s final decision may be
taken in this court.

As a one time courtesy, we have forwarded your § 2241 petition to the U.S. District
Court for the District of New Mexico for processing. You may contact that court at the
following address: Clerk’s Office, Pete V. Domenici U.S. Courthouse, 333 Lomas Blvd.
NW, St. 270, Albuquerque, NM 87102. If this court receives your $5.00 petition filing
fee (note: this $5.00 fee is applicable only to some federal district court habeas petitions,
not to appellate cases for which the filing fees are $505.00), we will also forward that to
the District of New Mexico. Otherwise, you can send your filing fee directly to the
District of New Mexico.

With kind regards,

4 cebeen, a , a
ELISABETH A. SHUMAKER, Clerk

EAS/Is

 
